                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:05cr103


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
TORIA DOUGLAS (5)                        )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant to join in co-defendant

Jermal Daniels's motion to suppress. (Doc. No. 71). The time has passed for the government or

Daniels to oppose the motion.

       The Court finds that it is in the interests of judicial economy to resolve like claims in the

same hearing. Additionally, it does not appear that Daniels or the government will be prejudiced

by the joinder of Douglas in the motion.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED. The

hearing on Daniels's motion is scheduled for October 13, 2005, at 1 p.m.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to co-defendant Daniels, counsel for co-defendant Daniels, to the United States

Attorney, the United States Marshals service, and the U.S. Probation office.




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                      Signed: September 27, 2005




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